183 F.3d 922 (9th Cir. 1999)
    RADIO TELEVISION ESPANOLA S.A., a Spanish Corporation; TELEVISION ESPANOLA S.A., a Spanish Corporation, Plaintiffs-Appellants- Cross-Appellees,v.NEW WORLD ENTERTAINMENT, LTD., a Delaware Corporation, Defendant-Appellee- Cross-Appellant.
    Nos. 97-56418, 98-55128
    UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT
    Argued and Submitted March 4, 1999--Pasadena, CaliforniaFiled July 16, 1999
    
      [Copyrighted Material Omitted]
      John R. Hurt, Hurt, Sinisi &amp; Papadakis, San Diego, California; David R. Shaub, Shaub &amp; Williams, Los Angeles, California, for the plaintiffs-appellants-cross-appellees.
      David Pettit, Caldwell, Leslie, Newcombe &amp; Pettit, Los  Angeles, California; George R. Hedges, Quinn, Emanuel,  Urquhart, Oliver &amp; Hedges, Los Angeles, California, for the  defendant-appellee-cross-appellant.
      Appeals from the United States District Court for the Central District of California William D. Keller, District Judge, Presiding.  D.C. No. CV 96-02798-WDK.
      Before: Warren J. Ferguson, Melvin Brunetti, and Thomas G. Nelson, Circuit Judges.
      FERGUSON, Circuit Judge:
    
    
      1
      Radio Television Espanola sued New World Entertainment  for breach of contract, claiming that New World failed to  honor a contract granting Radio Television an exclusive  license to broadcast two of New World's television programs.  The district court granted summary judgment for New World  because the parties had not complied with 17 U.S.C.  S 204(a)'s requirement that transfers of copyright be in writing. On appeal, we affirm on the merits but reverse the district  court's subsequent determination that New World's application for costs was untimely.
    
    I. BACKGROUND
    
      2
      New World Entertainment is an American company that  produces and distributestelevision programs. Television  Espanola is a Spanish company owned by Radio Television  Espanola, a company owned by the country of Spain. Television Espanola acquires rights to broadcast television programs  for its principal, Radio Television, and then broadcasts those  programs throughout Spain. New World and Television Espa- nola had conducted business with each other since at least  1988.
    
    
      3
      In April 1994, the two companies met at a television market in Cannes, France, where Television Espanola alleges  there was an oral agreement for an exclusive license for two  of New World's animated programs, Spiderman and Marvel  Action Hour. After the Cannes meeting, New World informed  Television Espanola that any licensing of Spiderman would  have to be accompanied by deals for Marvel Action Hour and  two other programs, Tales From the Crypt and The Extraordinary.
    
    
      4
      The two parties met over the issue. Television Espanola  claims that the discussions culminated in a final deal licensing  Spiderman and Marvel Action Hour. Following that meeting,  New World's negotiating agent, Alejandro Garcia, signed two  internal deal memos dated July 11, 1994, describing the terms  of the alleged agreement. Both deal memos, completely internal to New World, state that the contracts were to be prepared  by Television Espanola.
    
    
      5
      From that point on, many more letters, faxes, and memos  changed hands. The parties sent memos discussing details  concerning regional affiliates, format of the programs, price,  and quantity. Not until May 26, 1995, did Television Espanola finally deliver the proposed licensing contracts to New  World. New World, however, never signed the contracts.
    
    
      6
      Throughout the process of negotiating for Spiderman and  Marvel Action Hour, the parties had several communications  regarding the program The Extraordinary. In June 1995, New  World sent Television Espanola a letter seeking further negotiations over The Extraordinary. A Television Espanola executive responded by sending a fax to New World claiming that  the contracts for Spiderman and Marvel Action Hour were  complete and must be followed regardless of the status of any  deal for The Extraordinary. New World did not agree, and  sent a letter on August 8, 1995, to Television Espanola accusing it of acting unprofessionally and stating that New World  had decided "effective immediately to leave without effect all  and each one of our negotiations between our companies with  respect to any and all New World programming . . . . " Television Espanola responded in writing accusing New World of  "blackmail" for refusing to honor its obligation on Spiderman  without an agreement for The Extraordinary. At that point, the  parties ended their relationship.
    
    
      7
      It is important to note what was happening at this point in  time between New World and another Spanish television station, Antena 3. Since at least July 17, 1995, New World had  been negotiating with that station regarding airing a package  of New World shows: Spiderman and The Extraordinary. On  January 24, 1996, months after the breakdown of negotiations  with Television Espanola, Antena 3 and New World signed a  formal licensing agreement for the broadcast of Spiderman  and The Extraordinary.
    
    
      8
      As a result of the breakdown in the relationship, Television  Espanola filed this suit against New World on April 19, 1996,  in the Central District of California.1  Ten days later, Television Espanola filed its first amended complaint, the complaint  that forms the basis of this action. The complaint alleged  breach of contract, unjust enrichment, unfair competition,2  moneydue and owing, and declaratory relief. In its answer,  New World raised 17 U.S.C. S 204(a) as an affirmative  defense to all of Television Espanola's claims. New World  filed a motion for summary judgment, and the district court  heard arguments on the motion on August 4, 1997. The next  day, August 5, the court issued a minute order granting the  motion for summary judgment, finding both that there was no  meeting of the minds to form a contract and that the parties  had not complied with S 204(a). The minute order was  entered in the civil docket on August 6, 1997. Television  Espanola appealed the grant of summary judgment on September 5, 1997, and the appeal was docketed with this court  on October 22, 1997.
    
    
      9
      Believing the entry of the minute order did not constitute a final judgment, New World lodged a proposed judgment  with the district court on October 2, 1997. On October 6,  1997, the district court signed the judgment and entered it in  the civil docket. Eleven days later, on October 17, 1997, New  World filed its bill of costs pursuant to local rule. Television  Espanola, believing the August 6 entry of the minute order  constituted final judgment, objected to the district court's  entry of a second judgment in the case. On November 25,  1997, the district court considered New World's bill of costs  along with Television Espanola's objection and denied New  World's application, reasoning that the August 5 minute order  entered in the docket on August 6 constituted entry of final  judgment; accordingly, New World was not entitled to costs  because its application did not come within fifteen days of the  court's entering judgment on August 6, 1997. The denial of  costs was entered on December 1, 1997, and New World  timely filed an appeal. On stipulation of the parties, a Ninth Circuit mediator ordered that the two separate appeals be consolidated and briefed in cross-appeal format.
    
    II. DISCUSSION
    A. Breach of Contract
    
      10
      We review the district court's grant of summary judgment  de novo. Margolis v. Ryan, 140 F.3d 850, 852 (9th Cir. 1998).  Viewing the evidence in the light most favorable to the nonmoving party, we must determine whether there are any genuine issues of material fact and whether the district court  correctly applied the relevant substantive law. Id. Under that  standard, we hold that the district court was correct in concluding that New World was entitled to summary judgment  because there was no writing satisfying the requirements of  17 U.S.C. S 204(a).
    
    
      11
      Our analysis begins with a look at the copyright statutes. Under United States law,3 the owner of a copyright of  "audiovisual work" has the exclusive rights to copy, distribute, or display the work publicly. 17 U.S.C. S 106. The owner  can sell or license the rights to the work as long as the transfer  complies with 17 U.S.C. S 204(a), which states as follows:
    
    
      12
      A transfer of copyright ownership,4 other than by operation of law, is not valid unless an instrument of  conveyance, or a note or memorandum of the trans fer, is in writing and signed by the owner of the rights conveyed or such owner's duly authorized agent.
    
    
      13
      This court has consistently found copyright license agreements invalid that have not complied with S 204(a). See  Konigsberg Int'l. Inc. v. Rice, 16 F.3d 355, 356-57 (9th Cir.  1994); Effects Assocs., Inc. v. Cohen, 908 F.2d 555, 556-58  (9th Cir. 1990); Valente-Kritzer Video v. Pinckney, 881 F.2d  772, 775 (9th Cir. 1989).
    
    
      14
      No magic words must be included in a document to satisfy S 204(a). Rather, the parties' intent as evidenced by the  writing must demonstrate a transfer of the copyright. ValenteKritzer, 881 F.2d at 775; accord 3 Melville B. Nimmer &amp;  David Nimmer, Nimmer on Copyright, S 10.03[A][2] at 10-37  ("As with all matters of contract law, the essence of the inquiry here is to effectuate the intent of the parties."). Section  204(a)'s "requirement is not unduly burdensome . . . . The  rule is really quite simple: If the copyright holder agrees to  transfer ownership to another party, that party must get the  copyright holder to sign a piece of paper saying so. It doesn't  have to be the Magna Carta; a one-line pro forma statement  will do." Effects Assocs., 908 F.2d at 557. "The writing  should also serve as a guidepost for the parties to resolve their  disputes." Konigsberg, 16 F.3d at 357.
    
    
      15
      Television Espanola first claims that a fax sent from New  World to Television Espanola on November 9, 1994, satisfies  S 204(a). In the fax, a New World executive, Alejandro Garcia, complains to Television Espanola about Television Espanola's decision not to buy The Bold and the Beautiful.  Apparently, Television Espanola turned down The Bold and  the Beautiful because New World sold one of its other programs, OP Center, to Antena 3. Garcia states in the fax that  if Television Espanola had acted faster on OP Center it could  have bought both OP Center and The Bold and the Beautiful.
    
    
      16
      Garcia then wrote: "But it is not thus, very much in spite of  all my desires and efforts. I ask you, what about Spiderman and Marvel? Perhaps it is not obvious to TVE the importance  with which New World decided to close [the deal for that]5  animation with TVE." Garcia concluded that "[p]erhaps the  mistake was mine in not having made Marvel and Beauty and  Power a package . . . ."
    
    
      17
      The Garcia fax does not satisfyS 204(a). There is nothing in the Garcia fax that sets forth the terms of any license  agreement regarding Spiderman or Marvel Action Hour.  Surely, the fax references a deal, but it does not specify anything about that deal or whether that deal is for an exclusive  license for the program or for other broadcast rights. A mere  reference to a deal without any information about the deal  itself fails to satisfy the simple requirements ofS 204(a). See  Konigsberg, 16 F.3d at 357 (stating that the writing should  "serve as a guidepost for the parties"). Without more, the  comment in the Garcia fax is merely a part of negotiations  rather than an "instrument of conveyance" or "memorandum  of the transfer."
    
    
      18
      The second document relied upon by Television Espanola is a January 26, 1995, fax from New World's Operations  Manager, Fefi Toll, to Television Espanola. That fax states  that the Spiderman program should be "divided into two contracts which will be issued together and will provide as"  stated in the rest of the fax. New World's Alejandro Garcia  apparently authorized the division of the contracts, but they  would "have to be done by year" and "the package cannot be  broken up." The fax concludes: "[w]ith nothing further at this  time, awaiting the contracts . . . ."
    
    
      19
      Again, this piece of correspondence does not satisfy the  requirements of S 204(a). First, as with the Garcia fax, there  is no mention of a grant of an exclusive license; rather, the fax  just talks about the delivering of episodes to Television Espanola. Second, with the fax concluding that New World is  "awaiting the contracts," we can view the fax only as part of  an ongoing back-and-forth between two parties hammering out the final details of the agreement. The statement that New  World is waiting for the contracts "undercuts the hint of  finality" that the fax may otherwise contain. See ValenteKritzer, 881 F.2d at 775. Thus, as with the Garcia fax, the  Toll fax does not constitute an "instrument of conveyance" or  "memorandum of the transfer" as required byS 204(a).
    
    
      20
      Television Espanola also argues that if the two faxes  discussed above are not individually sufficient to satisfy  S 204(a), they meet the requirements when looked at together  and in conjunction with two other writings. The first extra  writing is a New World internal deal memo. The deal memo  lists the terms of a "new deal" between Television Espanola  and New World: Spiderman and Marvel Action Hour for five  years at a total license fee of $871,000. Written across the  deal memo in large script letters is "Contract To Be Done by  TVE [Television Espanola]." The second extra writing is a  fax from Television Espanola to New World's Fefi Toll on September 16, 1994. That fax states that Television Espanola  "would appreciate it if you would confirm to me the conditions of contract for" Spiderman and Marvel Action Hour.  The fax then lists the dates, price, and delivery method for  both series. At the end, the fax states that the "contracts will  be sent" to New World.
    
    
      21
      Those two documents, although more detailed than the  two documents relied on by Television Espanola individually,6 Do not transform the other insufficient documents into writings that satisfy S 204(a). First, both of the additional docu- ments refer to contracts that are pending. That language  indicates that there is no finalized deal but rather merely  negotiations that the parties are attempting to finalize. Without language indicating finality, S 204(a) is not satisfied. See  3 Nimmer, supra, S 10.03[A][3 ] at 10-38 ("[T]he mere preparation of written proposals back and forth, which never  resulted in a final meeting of the minds, does not suffice to  confirm a purportedly `oral contract.' "). Second, neither of  the faxes sent by New World (the Garcia fax and the Toll fax)  reference these two additional writings. Without any reference  to these additional writings, we are reluctant to somehow  deem them incorporated into the two writings Television  Espanola claims satisfy S 204(a). Thus, the two additional  documents cited by Television Espanola do not change the  fact that there is no writing satisfying the requirements of  S 204(a). See PMC, Inc. v. Saban Entertainment, Inc., 52 Cal.  Rptr. 2d 877, 884 (Ct. App. 1996) (finding a series of documents "taken together" not to satisfy the requirements of  S 204(a)).
    
    
      22
      None of the out-of-circuit cases relied upon by Television  Espanola changes this conclusion. All of the cases in which  other courts have found a writing to raise a triable issue of  fact as to whether it satisfied S 204(a) contain much more  compelling facts than those here. See Schiller &amp; Schmidt, Inc.  v. Nordisco Corp., 969 F.2d 410, 413 (7th Cir. 1992) (an  actual sales agreement between parties); Dean v. Burrows,  732 F. Supp. 816, 823 (E.D. Tenn. 1989) (an endorsed check  and a written transfer agreement recorded with the Copyright  Office); Kenbrooke Fabrics, Inc. v. Soho Fashions, Inc., 690 F. Supp. 298, 300-01 (S.D.N.Y. 1988) (two letters, one specifically stating that it authorized the transfer of ownership of  the materials and the other an invoice for the sale of the materials); Wales Indus. Inc. v. Hasbro Bradley, Inc., 612 F. Supp.  510, 514 (S.D.N.Y. 1985) (a document stating that the party  "does hereby sell, assign, transfer and set over to [the other  party] the entire right, title and interest to any copyrights  . . .").
    
    
      23
      Furthermore, three of those cases, Dean, Kenbrooke  Fabrics, and Wales Industrial involve actions by third parties  challenging a copyright transfer that the transferor and transferee agree took place. Courts have held that in situations "in  which the copyright holder appears to have no dispute with its  licensee on [the issue of transfer], it would be anomalous to  permit a third party infringer to invoke this provision against  the licensee." Eden Toys, Inc. v. Florelee Undergarment Co.,  Inc., 697 F.2d 27, 36 (2d Cir. 1982); accord Imperial Residential Design, Inc. v. Palms Dev. Group, Inc., 70 F.3d 96, 99  (11th Cir. 1995) (adopting the rule of Eden Toys ); Kenbrooke,  690 F. Supp. at 301 (applying the rule of Eden Toys); 3 Nimmer, supra, S 10.03[A][3] at 10-38. That circumstance is not present here.
    
    
      24
      Section 204(a) has a simple requirement in order for a grant  of an exclusive license to be valid -- put it in writing. If the  parties really have reached an agreement, they can satisfy  S 204(a) with very little effort. Here, there is no genuine issue  of material fact as to whether that minimal step was taken: it was not. Accordingly, the district court properly granted summary judgment in favor of New World based on S 204(a).7
    
    B. Denial of Costs
    
      25
      We review de novo the district court's decision that it did  not have the authority to award costs because New World's  application was filed late. See Russian River Watershed Protection Comm. v. City of Santa Rosa, 142 F.3d 1136, 1144  (9th Cir. 1998).
    
    
      26
      Under Federal Rule of Civil Procedure 54(d)(1), costs  are awarded to the prevailing party "as of course." Rule  54(d)(1) though does not specify a time for the prevailing  party to file a bill of costs. The Central District of California's  local rules fill that void by requiring a bill of costs to be filed  within a period of "fifteen (15) days after entry of judgment."  C.D. Cal. R. 16.3.8 By the plain language of that rule, the triggering event for beginning the time period for filing the bill  of costs is the "entry of judgment."What constitutes "entry of judgment" is delineated by  the Federal Rules of Civil Procedure and the Local Rules for  the Central District of California. Federal Rule 58, entitled  "Entry of Judgment," states in pertinent part as follows:  "Every judgment shall be set forth on a separate document. A  judgment is effective only when so set forth and when entered  as provided in Rule 79(a)." Fed. R. Civ. P. 58. Rule 79(a),  entitled "Books and Records Kept by the Clerk and Entries  Therein: Civil Docket," sets forth the requirements for how  the clerk of the court must enter items in the civil docket. The  relevant portion of Rule 79(a) is as follows:
    
    
      27
      All papers filed with the clerk, all process issued and returns made thereon, all appearances, orders, verdicts, and judgments shall be entered chronologically in the civil docket on the folio assigned to the action and shall be marked with its file number. These entries shall be brief but shall show the nature of each paper filed or writ issued and the substance of each order or judgment of the court and of the returns showing execution of process. The entry of an order or judgment shall show the date the entry is made.
    
    
      28
      Fed. R. Civ. P. 79(a).
    
    
      29
      The two rules go hand in hand: Rule 58 tells the parties what types of documents constitute judgment, and Rule  79(a) tells the parties how the clerk must enter those documents on the civil docket. Only when both rules are satisfied  is there an "entry of judgment." See Fed. R. Civ. P. 58 ("A  judgment is effective only when so set forth [according to  Rule 58] and when entered as provided in Rule 79(a)."); cf.  Calhoun v. United States, 647 F.2d 6, 8-9 (9th Cir. 1981)  (both requirements must be met for there to be entry of judgment triggering notice of appeal filing periods).
    
    
      30
      Central District local rules not only set forth the time  period for filing a bill of costs but also clarify what cannot  constitute an "entry of judgment" in the Central District under  Rules 58 and 79(a). Local Rule 14.10.5 provides as follows:
    
    
      31
      ENTRY OF JUDGMENT -- MEMORANDUM OF DECISION, OPINION, MINUTE ORDER - Notation in the civil docket of entry of a memorandum of decision, an opinion of the Court, or a minute order of the Clerk shall not constitute entry of judgment pursuant to F.R.Civ.P. 58 and 79(a) unless specifically ordered by the judge.
    
    
      32
      C.D. Cal. R. 14.10.5. The Local Rule is a clarification of Rule  58 and furthers the separate document requirement by stating  that memorandums of decision, opinions, and minute orders  will not satisfy the requirements of Rule 58, even when entered into the civil docket. The local rule provides an  exception, whereby a Central District judge may use such  documents to constitute entry of judgment under Rule 58 if  the judge specifically and affirmatively orders that "notation  in the civil docket" of such a document shall "constitute entry  of judgment pursuant to F.R.Civ.P. 58 and 79(a). " Said  another way, the clerk's act of entering a minute order--even  a minute order that would satisfy the separate document  requirement--can not effect an entry of judgment unless the  district court judge specifically orders it to be so.9
    
    
      33
      With that background, we must look to the facts of this case  to determine whether there was an "entry of judgment" on  August 6; if there was an "entry of judgment" on that date, New World's bill of costs, filed on October 17, was untimely.
    
    
      34
      The official court record contains a document dated  August 5, 1997, with the standard heading "Civil Minutes General." This type of document is commonly referred to as  a "minute order." A minute order is "a description of what  transpired in the courtroom." Carter v. Beverly Hills Sav. &amp;  Loan Ass'n, 884 F.2d 1186, 1189 (9th Cir. 1989). The order  notes that only the district court judge and the deputy clerk  were present; no attorneys or court reporter were present.  Under the heading "proceedings" is the following:
    
    
      35
      Before the Court is Defendant's motion for summary judgment and Defendant's motion for leave to file a counterclaim.
    
    
      36
      For the reasons stated at the hearing on August 4, 1997, the Court concludes that there was no meeting of the minds and the parties did not form a contract. The Court further finds that RTE has not demon strated a writing transferring New World's rights in Spiderman and Marvel Action Hour to RTE that is signed by New World and communicated to RTE as required by 17 U.S.C. S 204(a). Therefore, Defendant's motion for summary judgment is granted.
    
    
      37
      Defendant's motion for leave to file a counter claim is mooted because Defendant's counsel stipulated at the hearing that the counterclaim would be  withdrawn if the motion for summary judgment was granted.
    
    
      38
      IT IS SO ORDERED.
    
    
      39
      The judge did not sign the document. Only the initials of the  deputy clerk appear on the bottom right corner of the document. Two stamps appear on the top of the document indicating that it was filed on August 5 and entered on August 6.10
    
    
      40
      The corresponding entry in the civil docket for the  case classified the filing as minutes:
    
    
      41
      8/5/97  70 MINUTES: granting motion for summary judgment [39-1]. (ENT 8/6/97) MD JS 6 mld cpys &amp; ntc terminating case by Judge Wil liam D. Keller CR: none present (pbap) [Entry date 08/06/97]
    
    
      42
      In contrast, other entries in the civil docket for the case  begin with other capitalized words such as "ORDER,"  "OBJECTIONS," "JUDGMENT," and "NOTICE."
    
    
      43
      As noted above, in order to constitute entry of judgment, the document must meet the requirements of Local Rule  14.10.5; the judge must "specifically order[ ]"that the minute  order shall constitute entry of judgment upon the notation in  the docket. The judge--not the clerk--must make that order. See Wood v. Coast Frame Supply, Inc., 779 F.2d 1441, 1442  (9th Cir. 1986). Nothing of the sort occurred here. The judge  did not write any language upon the minute order which  would indicate that he was ordering that the notation in the  docket would constitute entry of judgment. Nor did the judge  execute a separate document to order that the notation on the  docket of minute order should constitute entry of judgment.
    
    
      44
      The language "IT IS SO ORDERED " which appears  on the clerk's minute order is insufficient to meet the local  rule's requirement. This language merely indicates that summary judgment was ordered and does not order that notation  in the civil docket shall constitute entry of judgment. Further,  we do not believe that the Rule 77(d) stamp stating "THIS  CONSTITUTES NOTICE OF ENTRY AS REQUIRED BY  FRCP RULE 77(d)," placed on the minute order by the clerk, is sufficient to bring the minute order within the requirements  of the local rule. Notice of entry pursuant to Rule 77(d) does  not answer whether the judge specifically ordered the minute  order to be entered pursuant to Local Rule 14.10.5. Because  we hold that the minute order does not satisfy the requirements of Local Rule 14.10.5 to constitute entry of judgment,  we need not determine whether the minute order also satisfies  the separate document requirement of Rule 58.11
    
    
      45
      There was no entry of judgment on August 6, 1997. As  such, the time for filing a bill of costs did not begin to run  upon the docket entry of the August 5th minute order. With out any judgment entered on August 6, New World was not  required at that point in time to file its bill of costs. The district court's decision of November 25 to the contrary was in  error.
    
    
      46
      We note further that the district court's November 25  minute order was rendered in the absence of jurisdiction.  When Television Espanola's appeal of the district court's  decision was docketed with the Ninth Circuit on October 22,  1997, the district court lost jurisdiction to review its October  6 entry of judgment. See Fed. R. Civ. P. 60(a) ("During the  pendency of an appeal, [mistakes in judgment] may be so corrected before the appeal is docketed in the appellate court, and  thereafter while the appeal is pending may be so corrected  with leave of the appellate court."). Thus, technically, the district court's October 6 entry of judgment remains valid,12 and  New World's bill of costs lodged with the district court on  October 17 is a timely application for costs under Local Rule  16.3. All that remains for the district court to do is evaluate  the bill and award costs to New World.
    
    
      47
      Although the decision we render today on this issue may seem to be based on legal minutiae, the matters at stake are  weighty. The due administration of justice would be incomplete without giving the prevailing party fair notice of the  need to file a bill of costs. When a court does not follow the  federal rules or its own local rules, it cannot expect the prevailing party to be aware of its rights. In the Central District  of California, to give the prevailing party that awareness, simple procedures such as rendering a judgment in a separate  document and entering that judgment as a judgment on the civil docket are all that have to be followed. The rules require  no more than that, but cannot be satisfied with less.
    
    III. CONCLUSION
    
      48
      The district court's grant of summary judgment in favor of  New World is affirmed. On the issue of costs, we reverse the  district court's determination that New World's bill of costs  was untimely and remand for an award of costs to New  World.
    
    
      49
      AFFIRMED in part, REVERSED in part, and REMANDED.
    
    
      50
      Costs on appeal are awarded to New World.
    
    
      
        Notes:
      
      
        1
         Subject matter jurisdiction was based on diversity of citizenship. See  28 U.S.C. S 1332.
      
      
        2
         The cause of action for unfair competition was voluntarily dismissed  by Television Espanola on April 24, 1997.
      
      
        3
         Neither party disputes that United States copyright law applies to this  case because, even though the alleged transactions took place in Spain, the  copyrights involved are United States copyrights.
      
      
        4
         The copyright laws define a "transfer of copyright ownership" as an "assignment, mortgage, exclusive license, or any other conveyance, alienation, or hypothecation of a copyright or of any of the exclusive rights  comprised in a copyright . . . but not including a nonexclusive license."  17 U.S.C. S 101. Television Espanola claims that it was granted an exclusive license and does not claim that it has a nonexclusive license; thus, the  transaction forming the basis of this lawsuit falls within the definition of  "transfer of copyright ownership."
      
      
        5
         The phrase "the deal for that " was inserted by the translator to make  sense of the Spanish original that just stated that "New World decidioc errar la animacion con TVE." Translated without the inserted phrase, that  means that "New World decided to close the animation with TVE."
      
      
        6
         Television Espanola does not and cannot rely on these two extra documents individually. First, New World's internal deal memo cannot satisfy  S 204(a) because it was never communicated to Television Espanola. See  Konigsberg, 16 F.3d at 357 (indicating that whereas the common law statute of frauds does not require the writing to be communicated to the other  party, S 204(a) does). Second, the memo from Television Espanola detailing the proposed contract terms does not satisfyS 204(a) because it was  not written and signed by New World, the owner of the copyright. See 17  U.S.C. S 204(a) (stating that the transfer must be "in writing and signed  by the owner of the rights conveyed or such owner's duly authorized  agent").
      
      
        7
         As an alternative ground for summary judgment, the district court ruled  that there was no meeting of the minds necessary for the creation of a  common law contract granting an exclusive license to Television Espanola. That ruling may or may not be correct; however, for grants of exclusive licenses, any meeting of the minds must be accompanied by a writing  satisfying 17 U.S.C. S 204(a). Section 204(a) cannot be circumvented by  parties arguing that the exclusive license was granted in a contract satisfying state common law. See Valente-Kritzer, 881 F.2d at 774 ("Section  204(a) not only bars copyright infringement actions but also breach of  contract claims based on oral agreements."); accord Marshall v. New Kids  on the Block Partnership, 780 F. Supp. 1005, 1009 (S.D.N.Y. 1991) (To  allow such an argument "would permit any alleged copyright infringer" to  ignore copyright laws "by making an [sic] bland allegation that use of  copyrighted material was within the terms of an oral license agreement.");  Library Publications, Inc. v. Medical Economics Co. , 548 F. Supp. 1231,  1234 (E.D. Pa. 1982) (state law breach of contract claim unsuccessful  because of S 204(a)), aff'd, 714 F.2d 123 (3d Cir. 1983); 3 Nimmer, supra,  S 10.03[A][5] at 10-42 (listing among arguments that "courts have  rejected" as "unavailing" the argument "characterizing the claim as one  for breach of an oral contract rather than for infringement of the copyright  orally transferred"). The district court's granting of summary judgment on  the alternative ground that there was no meeting of the minds was thus  unnecessary.
      
      
        8
         The full text of Local Rule 16.3 is as follows:
        BILL OF COSTS -- FILING AND FORM -- NOTICE The prevailing party who is awarded costs shall have fifteen (15) days after entry of judgment to file and serve a Bill of Costs. The Bill of Costs shall be attached to a Notice of Application to the Clerk to Tax Costs.
      
      
        9
         The procedure under Local Rule 14.10.5 is not required for actual written judgments by the court. Rather, the local rule only applies to memorandum decisions, opinions and minute orders. At the time of this case, the  Central District Local Rule 14.4, entitled Judgment, stated as follows:  "The judgment shall be set forth on a separate document as required by  F.R.Civ.P. 58. The judgment shall follow, as nearly as possible, F.R.Civ.P.  Official Forms No. 31 or No. 32." Thus, if the district court had merely  used a separate document which approximated Official Forms No. 31 or  No. 32 to order judgment, we could have avoided this entire inquiry and  it would have been clear to the parties that judgment had been entered.
      
      
        10
         Television Espanola claims that the minute order also contained a  stamp stating "THIS CONSTITUTES NOTICE OF ENTRY AS  REQUIRED BY FRCP, RULE 77(d)" and that the stamp demonstrated  that the minute order was an entry of judgment. New World responds that  the copy of the minute order it obtained from the court record did not contain that stamp and thus could not constitute notice. Our resolution of the  cost issue below does not require us to address the issue of the effect of  a failure to notify under Federal Rule 77(d) on filing a bill of costs.
      
      
        11
         The most recent cases in which this circuit has discussed whether a  minute order constituted entry of judgment have no bearing on this case  because they do not address entry of judgment within the context of the  Central District Local Rules. See Ingram v. Acands, Inc., 977 F.2d 1332,  1338-39 (9th Cir. 1992) (finding minute order sufficient because the document stated it was an order, was signed by the clerk, was mailed to counsel  and entered on docket as an order); Carter v. Beverly Hills Sav. &amp; Loan  Ass'n, 884 F.2d 1186, 1189-90 (9th Cir. 1989) (finding minute order  insufficient because it was not "a separate order " because not signed by  the deputy clerk who prepared it, did not contain "order" language and  was not "entered as an order" on the docket); Beaudry Motor Co. v. Abko  Properties, Inc., 780 F.2d 751, 755 (9th Cir. 1986) (finding minute order  sufficient because it contained "order" language, signed by the clerk, contained file stamps, was mailed to the parties, and was entered as an order  on the docket); Calhoun v. United States, 647 F.2d 6, 9-10 (9th Cir. 1981)  (finding minute order failed as a separate document, was not mailed to the  parties and was not entered as an order). Even within the context of those cases, the minute order here may not constitute entry of judgment because  it was not entered as an order on the civil docket.
      
      
        12
         Television Espanola's appeal was taken from the August 6th entry of  the minute order. Because the August 6th entry of the minute order was  not entry of judgment under the local rules, Television Espanola's appeal  was premature. However, under our rules, the appeal is deemed as if filed  on October 6th. See Fed. R. App. P. 4(a)(2) ("A notice of appeal filed after  the court announces a decision or order but before the entry of judgment  or order is treated as filed on the date of and after the entry.").
      
    
    